      Case 1:25-cv-10676-BEM          Document 59-9        Filed 04/08/25     Page 1 of 4




                           DECLARATION OF PAIGE AUSTIN

I, Paige Austin, hereby affirm under penalty of perjury pursuant to 28 U.S.C. § 1746 that the
following statements are true, except those made on information and belief, which I believe to be
true:

   1. I am an attorney at Make the Road New York (MRNY), located at 301 Grove St.
      Brooklyn, NY 11237. MRNY is a nonprofit legal service provider with five offices in and
      around New York City. Since 2019, MRNY has been a part of a collaborative of
      organizations providing services to New Yorkers with final orders of removal who are
      either in ICE custody or at imminent risk of ICE enforcement action. The collaborative is
      called the Rapid Response Legal Collaborative (RRLC). I supervise our team that works
      under the auspices of RRLC in representing and providing legal advice to individuals
      with orders of removal.

   2. Through this work, I have represented or supervised the representation of hundreds of
      individuals with final orders of removal, often although not always in seeking reopening.

   3. The vast majority of individuals referred to RRLC are pro se. A large number of those
      referred by another service provider do not understand that they have a removal order; do
      not understand the implications of their removal order; and/or do not know how to reopen
      the removal order before the immigration court. For instance, many individuals are
      confused about the distinction between U.S. Immigration and Customs Enforcement
      (ICE) and the immigration court (e.g. believing they have attended their immigration
      court dates when in fact they were attending ICE check-ins) or believe that actions
      subsequent to a removal order have the effect of cancelling or undoing it (e.g. filing an
      asylum application or applying for employment authorization).

   4. Preparation of a motion to reopen requires significant work by counsel that is nearly
      impossible for pro se clients to undertake on their own, particularly if they are detained.
      Motions to reopen require a sworn statement of new and relevant facts in English, often
      with reference to the person’s prior removal proceedings; supporting evidence, which
      individuals in custody do not have access to; a relief application, completed in English;
      and proof of prima facie eligibility for relief, such as country conditions evidence, which
      is also unattainable in custody due to lack of consistent (or any) access to the internet,
      printers, copiers, and translation services.

   5. This evidence takes time to gather, translate, and prepare for submission. Many clients
      and prospective clients do not have copies of relevant immigration-related documents. As
      a result, our first step in preparing motions to reopen is generally to request a complete
      Record of Proceeding from Executive Office of Immigration Review (EOIR), which is
      comprised of the immigration courts and the Board of Immigration Appeals, so that we
      can understand the procedural history of the case, see whether an application is on file,
      and identify any lack of notice claim. Individuals in custody have no way to access their
      Record of Proceeding.




                                                                                      EXHIBIT I
  Case 1:25-cv-10676-BEM            Document 59-9        Filed 04/08/25       Page 2 of 4




6. Even when someone is not detained, preparation of a meritorious motion to reopen is
   extremely difficult to complete pro se. RRLC has received a large volume of referrals for
   individuals who attempted to do a pro se motion to reopen—often after being handed a
   pro se form at the window in immigration court—and had that motion denied. It is
   common for people to omit crucial details they do not know are relevant; omit supporting
   evidence; and/or face difficulty translating a statement into English.

7. Motions to reopen can be legally complex. Pro se individuals (like many attorneys)
   generally are not familiar with the relevant filing deadlines or the concept of equitable
   tolling for filing deadlines or the number bar; do not have the experience or knowledge to
   analyze and present certain legal claims, including lack of notice and changed-country-
   condition claims; and may fail to recognize relevant information to include. To the extent
   motions seek reopening sua sponte, these also may face additional legal barriers
   including the regulatory departure bar and a limitation on federal court review. A sua
   sponte filing also triggers the number bar on reopening—which may create an additional
   obstacle.

8. For motions to reopen, including requests to reopen sua sponte, that do not carry an
   automatic stay of removal, a movant generally can be deported during the pendency of
   that motion. The same is true during the appeal of a denied motion to reopen. A motion
   for a stay of removal requires legal argument and familiarity with stays from other legal
   contexts, as there are no published standards for the adjudication of motions to stay
   removal by immigration courts or the Board of Immigration Appeals.

9. Although counsel can generally file motions to reopen electronically, pro se individuals
   are forced to rely on paper filing. My team at MRNY files some motions to reopen by
   mail for nondetained clients for whom we are using a notice of limited appearance, and
   whose orders of removal are outside New York City, and we often see significant delays
   in delivery and docketing of those motions in immigration court. For instance, in recent
   years, we have seen delays of several weeks in docketing motions in the immigration
   courts in Orlando, Dallas, and Chicago. For someone in custody who faces imminent
   removal, it is unlikely based on my experience that they could even get a motion to
   reopen and/or motion for a stay filed and docketed prior to removal if relying on paper
   filing by mail to do so.

10. Communication with clients in ICE detention facing imminent removal is extremely
    difficult. Particularly since January 2025, we regularly see clients transferred between
    facilities repeatedly and within days of arrival in ICE custody. On multiple occasions, we
    have been unable to hold a legal call or obtain client signatures prior to a detained client’s
    slated removal. This obstructs our ability to identify and document clients’ reasons for
    seeking reopening and their claims to relief.

11. ICE ERO does not provide counsel or, in most cases, individuals with information about
    removal. For instance, on or about March 26, 2025, a post-order MRNY client from
    Venezuela was transferred from an ICE detention facility without prior notice and prior
    to a scheduled legal call to complete his intake. I repeatedly asked ICE ERO to confirm
  Case 1:25-cv-10676-BEM           Document 59-9         Filed 04/08/25      Page 3 of 4




   whether ICE intended to remove him to Venezuela or El Salvador. Despite confirming
   our client was in the process of being transferred, ICE ERO would not provide this
   information.

12. Similarly, we have another post-order client from Venezuela who was in custody for
    several months and repeatedly faced near-removal in March 2025—including even being
    transported to the airport—without reliable notice or information on where he would be
    removed to.

13. Logistically, it would be impossible for legal service providers to prepare motions to
    reopen with respect to every possible country to which an individual may be removed—
    and certainly that is not possible for pro se individuals. For instance, MRNY currently
    represents a detained post-order client who is gay. He could theoretically assert a fear of
    removal to an enormous number of countries. We have also represented two detained,
    indigenous land rights activists from Honduras, both of them post-order. Latin America is
    widely considered to be the deadliest region in the world for land-rights activists, with
    several other countries including Colombia, Brazil, Guatemala and Mexico also posing
    lethal risks. In these types of cases, where individuals have fear-based claims to multiple
    countries, preparing and filing motions to reopen based on fears of deportation to
    multiple countries on the off-chance DHS might intend to deport a person to one of those
    countries is simply not feasible. Instead of a single motion and application, each client
    could now need the equivalent of potentially a dozen or more motions and applications—
    with no attorney capacity left to assist anyone else. It would also impose an extreme
    burden on the immigration court system, with judges asked to review and rule on
    numerous potentially unnecessary motions and claims.

14. It is difficult to substantiate fear claims to countries which clients know nothing about.
    MRNY represents another post-order client whose motion to reopen, filed while he was
    detained, was denied with respect to a possible third country of removal (El Salvador)
    with the IJ finding “the new claim advanced of a fear of removal to a country other than
    that designated as a country of removal in [the client’s] case is too generalized and vague
    to establish prima facie eligibility for asylum or related relief absent further evidentiary
    support.” Notably, our client’s filing had included several articles and reports about the
    dangers posed by removal and incarceration in El Salvador—far more than a pro se
    individual in custody, particularly one who does not speak English, could possibly
    adduce. Yet his fear claim was still denied as “too generalized and vague.”

15. Moreover, RRLC represents some clients who once detained want to be removed to their
    country of origin. A motion to reopen and stay interrupts this process and prolongs their
    detention. For instance, in the case of the MRNY for whom ICE ERO refused to provide
    information on where he would be removed, we filed a motion to reopen with respect to
    El Salvador, only to withdraw it after a TRO was issued in the instant litigation. In the
    interim, our client was returned to a detention facility where he now remains (despite the
    withdrawal of his motion) nearly two weeks after he could have been removed.
     Case 1:25-cv-10676-BEM           Document 59-9         Filed 04/08/25      Page 4 of 4




   16. The only workable means of providing an opportunity to seek fear relief to a third
       country, in my view and based on my experience, would be to provide notice of an
       intended third country of removal with a concomitant and documented opportunity to
       express a fear of removal there. That expression of fear of removal to a third country
       should trigger a reopening of the removal proceeding, such that the full panoply of rights
       under Section 240 of the Immigration and Nationality Act is available.

   17. In particular, I note that the use of a fear interview, along the lines of a credible or
       reasonable fear interview, as a gatekeeping mechanism to determine if the noncitizen
       merits the opportunity to present a full fear claim before an IJ would be grossly unfair. In
       my experience representing detained clients in reasonable fear interviews and reviewing
       such interviews, asylum officers seek to elicit detailed explanations of the interviewee’s
       fear and reasons for believing the foreign government would not provide protection (or
       would acquiesce in torture). A lack of detailed information or knowledge, particularly as
       regards the government’s role in any persecution or torture, is often fatal to the fear
       claim. Obviously, for a third country where the interviewee has never set foot, that
       information would be impossible for the noncitizen to provide on an accelerated timeline
       and while in detention.



DATED: April 8, 2025
                                                     _________________________
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